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February 22, 2022
                                                  By U.S. Mail

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Minneapolis, MN 55415

RE:      Soren Stevenson v. Benjamin Bauer, et al.
         Case No. 20--207 SRN/TNL
         Our File No. 129949.0000

Dear Counsel:

      Enclosed and served upon you by U.S. Mail is Plaintiff’s Notice of
Acceptance of Clarified Rule 68 Offer of Judgment.

                                          Very truly yours,

                                          /s/ Kathryn H. Bennett

                                          Kathryn H. Bennett

KB/bz
Enclosure




92588636.1
